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 6                           UNITED STATES DISTRICT COURT
 7                                DISTRICT OF NEVADA
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 9   RONALD O’NEAL CALVIN,
10          Petitioner,                              Case No. 3:08-CV-00033-LRH-(RAM)
11   vs.                                             ORDER
12   E. K. MCDANIELS, et al.,
13          Respondents.
14
15          Petitioner having submitted a Motion for Enlargement of Time (First Request) (#36), and
16   good cause appearing;
17          IT IS THEREFORE ORDERED that Petitioner’s Motion for Enlargement of Time (First
18   Request) (#36) is GRANTED. Petitioner shall have through April 27, 2009, to file and serve a
19   response to Respondents’ Motion to Dismiss (#19).
20          DATED this 27th day of March, 2009.
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22                                                            _________________________________
                                                               LARRY R. HICKS
23                                                             UNITED STATES DISTRICT JUDGE
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